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 1
 2                UNITED STATES DISTRICT COURT W.D. OF WASHINGTON AT TACOMA
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 4
        UNITED STATES OF AMERICA,
 5                                                                Case No. CR04-5350RBL
                                 Plaintiff,
 6                                                                INITIAL ORDER RE:
                          v.                                      ALLEGATIONS OF
 7                                                                VIOLATION OF
        BRANDY PITTMAN,                                           CONDITIONS OF
 8                                                                SUPERVISION
                                 Defendant.
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10
            THIS MATTER comes on for an initial hearing on the Petition of the United States Probation
11   Office alleging that the defendant has violated the conditions of supervision.

12              The plaintiff appears through Assistant United States Attorney, GREGORY GRUBER.

13              The defendant appears personally and represented by counsel, CHARLES JOHNSTON.

14              The U.S. Probation Office has filed a petition alleging violations of the terms and conditions of
                supervision, and the defendant has been advised of the allegation(s).
15
             The court finds probable cause with regard to the allegation(s) and schedules a hearing on the
16          petition to be held at the time and date below set forth before Judge RONALD B. LEIGHTON:

17                             Date of hearing:      MAY 20, 2009

18                             Time of hearing:      9:00 A.M.

19              IT IS ORDERED that the defendant:

20              (X ) Defendant is released on his personal recognizance, subject to the terms and conditions
                      of his current term of probation.
21
                ( ) Be detained for failing to show that he/she will not flee or pose a danger to any other person
22                  or the community pursuant to CrR 32.1(a)(1), and CrR 46(c), to be delivered as ordered
                    by the court for further proceedings.
23
             The clerks shall direct copies of this order to counsel for the United States, to counsel for the
24   defendant, the United States Marshal and to the United States Probation Office and/or Pretrial Services
     Office.
25
                                                            May 4, 2009.


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                                                            J. Richard Creatura
28                                                          United States Magistrate Judge

     ORDER
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